     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-2208

                    RAMON TORRES-GONZALEZ,

                    Plaintiff, Appellant,

                              v.

                        UNITED STATES,

                     Defendant, Appellee.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF PUERTO RICO

      [Hon. Carmen Consuelo Cerezo, U.S. District Judge]

                            Before

                   Boudin, Circuit Judge,
              Campbell, Senior Circuit Judge,
                 and Stahl, Circuit Judge.

   Ramon Torres-Gonzalez on brief pro se.
   Guillermo Gil, United States Attorney, Miguel A. Fernandez,
Assistant United States Attorney, and Jose Javier Santos Mimoso,
Assistant United States Attorney, on brief for appellee.

June 28, 1999

          Per Curiam.  The district court, adopting the
recommendation of the magistrate-judge, dismissed this Bivens
action on the ground that it was barred by the applicable
statute of limitations.  On appeal, plaintiff attempts to
revise his equitable-tolling argument--contending that he did
not learn of the alleged improprieties surrounding his removal
from Venezuela until February 1998 (rather than August 1996, as
he alleged below).  This argument, having been advanced for the
first time on appeal, has been waived.  See, e.g., Malave v.
Carney Hosp., 170 F.3d 217, 222 (1st Cir. 1999).  It would fail
in any event, particularly given that plaintiff voiced similar
factual allegations as far back as November 1995 in connection
with his request for habeas relief.  For these reasons, as well
as those enumerated below, the judgment is summarily affirmed.
          Defendants, noting that service of process was never
effected below, suggest that this court's jurisdiction is
therefore lacking.  This argument overlooks the fact that the
complaint here was screened, and the sua sponte dismissal
entered, pursuant to 28 U.S.C.  1915A.  This provision "does
not require that process be served."  Carr v. Dvorin, 171 F.3d
115, 116 (2d Cir. 1999) (per curiam).  Appellate jurisdiction
is thus unaffected by the lack of service.
          The motions to strike are denied, the motion to
clarify is allowed, and the judgment is summarily affirmed. 
See Loc. R. 27.1.
